                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


MINOR N. M. Z., MINOR D. M. Z., MS.            §
MS. Z.,                                        §
                                               §               5:25-CV-00716-FB-RBF
                  Petitioners,                 §
                                               §
vs.                                            §
                                               §
JOSE RODRIGUEZ, IN HIS OFFICIAL                §
CAPACITY AS WARDEN OF THE                      §
DILLEY IMMIGRANT PROCESSING                    §
CENTER; SYLVESTER M ORTEGA, IN                 §
HIS OFFICIAL CAPACITY AS ACTING                §
FIELD OFFICE DIRECTOR, SAN                     §
ANTONIO FIELD OFFICE,                          §
ENFORCEMENT AND REMOVAL                        §
OPERATIONS, U.S. IMMIGRATION &                 §
CUSTOMS ENFORCEMENT; et al,                    §
                                               §
                  Respondents.                 §
                                               §

                                  ORDER FOR SERVICE

       Before the Court is the status of the above-referenced case. On June 26, 2025, the Court

ordered service by certified mail, return receipt requested, on all Respondents. See Dkt. No. 9.

Service was attempted on Respondent Jose Rodriguez, Warden, Dilley Immigrant Processing

Center via certified mail sent to the U.S. Attorney’s Office, Western District of Texas, San

Antonio Division. See Dkt. No. 12. The other Respondents in this case, all federal government

entities or employees, have informed the Court that Respondent Rodriguez, as a non-federal

employee, is not represented by the U.S. Attorney’s Office in this case. See Dkt. No. 17 at 1,

n. 1. Respondent Rodriguez therefore must be served separately at the below address:

              Dilley Immigration Processing Center
              300 El Rancho Way
              Dilley, Texas 78017
       IT IS THEREFORE ORDERED that the United States Marshals Service shall

personally serve Respondent Jose Rodriguez with service of process on or before July 7, 2025.

The U.S. Marshals Service shall provide Respondent Rodriguez with copies of the Petition (Dkt.

No. 1), Petitioners’ Motion for Order to Show Cause (Dkt. No. 3), the Court’s Order to Show

Cause (Dkt. No. 9), the Government Respondents’ Response (Dkt. No. 17), and this Order. Proof

of such service shall be filed on or before July 7, 2025.

       IT IS FURTHER ORDERED that on or before July 8, 2025, at 11:59 PM, Respondent

Rodriguez shall file a notice indicating whether he wishes to join the Government’s Response,

Dkt. No. 17, or wishes to file a separate response to the Court’s Show Cause Order, Dkt. No. 9.

IT IS FINALLY ORDERED that, if Respondent Rodriguez wishes to file a separate response,

Respondent Rodriguez shall file a response on or before July 11, 2025, at 11:59 PM.

       IT IS SO ORDERED.

SIGNED this 2nd day of July, 2025.




                                      RICHARD B. FARRER
                                      UNITED STATES MAGISTRATE JUDGE




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